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              1   COOLEY LLP
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                  MANISH LACHWANI and Non-Party COOLEY LLP
              8

              9                                 UNITED STATES DISTRICT COURT

             10                            NORTHERN DISTRICT OF CALIFORNIA

             11                                    SAN FRANCISCO DIVISION

             12

             13   UNITED STATES OF AMERICA,                     Case No. 21-cr-0353-CRB

             14                    Plaintiff,                   DECLARATION OF JOHN H.
                                                                HEMANN IN SUPPORT OF NON-
             15          v.                                     PARTY COOLEY LLP’S MOTION TO
                                                                QUASH GRAND JURY SUBPOENA
             16   MANISH LACHWANI,
                                                                Date: August 10, 2022
             17                    Defendant.                   Time: 1:30 p.m.
                                                                Dept.: Courtroom 6 – 17th Floor
             18                                                 Judge: Charles R. Breyer

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COOLEY LLP
                                                                         HEMANN DECLARATION ISO MOTION TO
                                                                                          QUASH SUBPOENA
                                                                                  CASE NO. 21-CR-0353-CRB
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              1           I, John H. Hemann, declare as follows:
              2           1.      I am an attorney licensed to practice law in the state of California, and a partner at
              3   Cooley LLP, counsel of record for Defendant Manish Lachwani in this matter. I submit this
              4   declaration in support of Non-Party Cooley LLP’s Motion to Quash Grand Jury Subpoena. Except
              5   as otherwise noted, I make this declaration based on my personal knowledge and, if called as a
              6   witness, I could and would testify competently to the matters stated herein.
              7           2.      The U.S. Attorney’s Office and FBI have been investigating HeadSpin and Mr.
              8   Lachwani since at least August 2020, when the U.S. Attorney’s Office served a grand jury subpoena
              9   on HeadSpin, seeking documents related to Mr. Lachwani and his role as founder and Chief
             10   Executive Officer of the company. I received a copy of the subpoena, dated August 7, 2020, from
             11   counsel for HeadSpin. Amongst 13 categories of documents sought by the government, the
             12   subpoena included a request specific to Mr. Lachwani: “All communications sent from, sent to, or
             13   copied to former CEO Manish Lachwani, including email, text or SMS messages, Slack, and any
             14   other messaging system or service.”
             15           3.      The U.S. Attorney’s Office filed a criminal complaint against Mr. Lachwani on
             16   August 20, 2021. He was arrested on August 25, 2021. Mr. Lachwani was indicted on September
             17   7, 2021. In or around March 2022, the government informed the Court that it would seek a
             18   superseding indictment by mid-June, 2022.
             19           4.      On May 11, 2022, the government emailed a grand jury subpoena to me (the
             20   “Subpoena”). The Subpoena is attached hereto as Ex. 1.
             21           5.      On May 18, one week after serving the Subpoena, the government informed me it
             22   would not seek a superseding indictment by mid-June, but would instead do so at some unspecified
             23   date in the future.
             24           I declare under penalty of perjury under the laws of the United States of America that the
             25   foregoing is true and correct.
             26           Executed on June 24, 2022 in San Francisco, California.
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COOLEY LLP
                                                                                  HEMANN DECLARATION ISO MOTION TO
                                                                    2                                QUASH SUBPOENA
                                                                                         CASE NO. 3:21-CV-06554-CRB
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              1   Dated: June 24, 2022                      COOLEY LLP
              2

              3                                             By: /s/ John H. Hemann
                                                                John H. Hemann
              4
                                                            Attorneys for Defendant and
              5                                             Non-Party Cooley LLP

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COOLEY LLP
                                                                       HEMANN DECLARATION ISO MOTION TO
                                                        3                                 QUASH SUBPOENA
                                                                              CASE NO. 3:21-CV-06554-CRB
